                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:10-00004
                                               )          JUDGE CAMPBELL
KATHY MEDLOCK                                  )


                                           ORDER

       Pending before the Court is the Government’s Motion For An Order Of Forfeiture

Consisting Of $497,248.92 United States Currency Money Judgments And Order Of Forfeiture

As To Counts One Through Thirty-Nine (Docket No. 333). The Motion is GRANTED in part,

and DENIED in part. For the reasons stated on the record at the sentencing hearing on January

16, 2014, the amount of forfeiture is $457,730.12. The Government shall file a proposed order

reflecting that amount.

       It is so ORDERED.



                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00004       Document 356       Filed 01/16/14     Page 1 of 1 PageID #: 2846
